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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE


UNITED STATES OF AMERICA                                                             PLAINTIFF


v.                                                         CASE NO. 3:23-CR-00055-DJH


JOHN ANTHONY SCHMIDT                                                              DEFENDANT

                                            ORDER
                                         *** *** *** ***

       Upon motion of the Defendant, JOHN ANTHONY SCHMIDT, by counsel, and the

Court being otherwise sufficiently advised,

       IT IS HEREBY ORDERED that the Defendant’s Motion to Declare the Case Complex

and Convert July 10, 2023 Jury Trial to an In-Person Status Hearing be, and hereby is,

GRANTED.

       IT IS FURTHER HEREBY ORDERED that an In-Person Status Hearing be, and

hereby is, set for July 10, 2023 at 10:30 a.m.
